  Case 8:16-ap-01114-ES       Doc 51 Filed 11/17/17 Entered 11/17/17 10:25:03               Desc
                               Main Document    Page 1 of 2



  1   MARCEREAU & NAZIF
      Robert H. Marcereau (SBN 211534)
  2   Sy Nazif (SBN 228949)                                       FILED & ENTERED
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  3   Foothill Ranch, CA 92610
      Tel: (949) 531-6500                                               NOV 17 2017
  4   Fax: (949) 531-6501
  5   ATTORNEYS FOR CREDITORS and PLAINTIFFS                       CLERK U.S. BANKRUPTCY COURT
                                                                   Central District of California
      Kelli Peters, Bill Peters and Sydnie Peters                  BY duarte     DEPUTY CLERK
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  7
                             UNITED STATED BANKRUPTCY COURT
  8
                CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
  9
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 11   In re:                                         Case No. 8:16-bk-10223-ES
                                                     Adversary Case No.: 8:16-ap-01114-ES
 12   Kent W. Easter, dba Kent Easter
 13   Consulting, dba Law Offices of Kent W.
      Easter                                         ORDER RE: STIPULATION TO
 14                                                  DISMISS
 15
 16   Kelli Peters, Bill Peters and Sydnie Peters,
 17
                    Plaintiffs,
 18                              vs.
 19   Kent W. Easter, dba Kent Easter
      Consulting, dba Law Offices of Kent W.
 20
      Easter,
 21                 Defendants.
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  1                                            ORDER
  2
           1.     Pursuant to the parties’ stipulation lodged with this court on August 22, 2017,
  3
                  the parties have reached a settlement.
  4
           2.     Pursuant to the Parties’ Settlement Agreement and Mutual Release dated
  5
                  August 8, 2017, and Federal Rule of Civil Procedure 41(a)(l)(A)(ii) made
  6
                  applicable to this adversary proceeding by Federal Rule of Bankruptcy
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                  Procedure 7041, Plaintiff’s Complaint is dismissed without prejudice.
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  9        2.     Each party shall bear its own fees and costs.

110                                            By the Court,
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      Date: November 17, 2017
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